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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DAVID COLEMAN and BRENDA                       :
COLEMAN,                                       :
                                               :
      Plaintiffs,                              :
                                               :    CIVIL ACTION FILE
      v.                                       :
                                               :    NO. 1:10-cv-02283-ODE-LTW
MS SERVICES, LLC,                              :
a Wyoming limited liability company,           :
                                               :
      Defendant.                               :
                                               :

              STIPULATION OF DISMISSAL WITH PREJUDICE

      COMES NOW PLAINTIFF, pursuant to Rule 41(a)(1) of the Federal Rules

of Civil Procedure, and before the service of an answer or a motion for summary

judgment, and stipulates that this action shall be dismissed with prejudice to all

claims.

      Respectfully submitted,

                                 SKAAR & FEAGLE, LLP


                                 by:    / s/ James M. Feagle
                                       James M. Feagle
                                       Georgia Bar No. 256916

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